Case 2:18-cv-11477-SDW-CLW Document 42 Filed 02/04/20 Page 1 of 2 PagelD: 489

BROWN & CONNERY, LLP

ATTORNEYS AT LAW
360 HADDON AVENUE
WESTMONT, NEW JERSEY 08108
(856) 854-8900
FAX (856) 858-4967

Susan M, Leming, Esq.

sleming@brownconnery.com

. February 3, 2020
Via ECF and First-Class Mail

Hon. Susan D. Wigenton

United States District Court for the District of New Jersey
Martin Luther King Building and U.S. Courthouse

50 Walnut Street

Newark, NJ 07102

Re: Church VI v. Glencore ple, et al., Case No. 2:18-cv-11477-SDW-CLW
Dear Judge Wigenton:

I write on behalf of Defendants Glencore plc, Ivan Glasenberg, and Steven Kalmin in the

-above-captioned matter to request respectfully that Defendants be permitted to file a consolidated

joint brief of up to 60 pages in support of their motion to dismiss the complaint, due on February
7, 2020. Absent an enlargement, briefs are limited to 40 pages under Local Rule 7.2.

Defendants respectfully submit that enlargement of the page limit for a joint brief is
necessary to permit the three Defendants to set forth their respective grounds for dismissal and to
adequately address the allegations in the Amended Complaint, which numbers 345 paragraphs
across 93 pages, challenges numerous public statements allegedly made by Defendants over the
course of the more than 3-year proposed class period, and raises numerous complex legal and
factual issues. Among other things, Defendants intend to move to dismiss the Amended Complaint
(1) under Fed. R. Civ. P. 12(b)(2), based on Plaintiffs’ failure to establish a basis for the Court to
exercise personal jurisdiction over Defendants; (2) under Fed. R. Civ. P. 12(b)(6), because
Plaintiffs fail to state a claim against any of the Defendants; and (3) under the doctrine of forum
non conveniens. Defendants believe that the requested enlargement for a single consolidated joint
brief including all arguments on behalf of the three separate Defendants will permit them to more
comprehensively and efficiently address the relevant issues in a manner that will benefit the Court
and the parties.

78F 190002
Case 2:18-cv-11477-SDW-CLW Document 42 Filed 02/04/20 Page 2 of 2 PagelD: 490

BROWN & CONNERY
LLP

February 3, zeae
Page 2

Defendants’ counsel have met and conferred with Plaintiffs’ counsel, who have stated that
. they do not oppose this request. Defendants will not oppose a comparable enlargement of the page
limit applicable to Plaintiffs’ anticipated brief in opposition to Defendants’ motion to dismiss.

We thank the Court for its consideration of this request.

een submitted,

Susan M. Leming

cc: All Counsel of Record (via ECF and Email)

 

 

78F 190002
